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             In the United States Court of Federal Claims
                                   No. 02-1795 C
                               (Filed October 6, 2006)

***********************************
THE SWEETWATER, A WILDERNESS *
 LODGE LLC.,                        *
                                    *
                    Plaintiff,      *
                                    *
                    v.              *
                                    *
THE UNITED STATES,                  *
                                    *
                    Defendant.      *
************************************

                                       ORDER

       Plaintiff’s Corrected Motion for Reconsideration filed September 14, 2006,
seeks an increase of the value for The Sweetwater’s improvements, set forth in the
Opinion, filed August 25, 2006. Plaintiff cites a purported impact of Clause 15 of the
Term Special Use Permit executed by the parties and also asserts that an additional
increase in the per unit value for The Sweetwater is appropriate based on the court’s
determination that the facility comprised five guest units, not six. It is concluded that
no valid basis is shown for an increase in value based on Clause 15. Also retaining
the per unit value of $150,000, after the determination as to five guest units, was
intentional and intended to compensate for using the high end of the range of values
proposed by the parties. See Slip Opinion, p. 33. No viable basis for reconsideration
as to these matters has been shown.

       In response to plaintiff’s motion for reconsideration, defendant argues for a
remand to the Department of Agriculture to determine the compensation called for by
Clause 15 of the Term Special Use Permit. As noted in the Opinion, pp. 24, 29, the
Forest Service declined to exercise the termination provision involved. The actions
taken by the Forest Service would support a determination that there was a taking of
plaintiff’s property requiring the payment of just compensation. However, the
existence of Clause 15 in the permit, although not exercised by the Forest Service,
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serves to cap the damages to which plaintiff is entitled. G. C. Casebolt Co. v. United
States, 190 Ct. Cl. 783, 786, 421 F.2d 710, 712 (1970); Best Foam Fabricators, Inc.
v. United States, 38 Fed. Cl. 627, 638 (1997). By an intentional Forest Service
decision not to initiate Clause 15 action and provide an appraisal amount, this
litigation was engendered. There was no administrative termination decision in this
matter which would call for remand action to determine the damages involved.

       Plaintiff notes that the admission in evidence of defendant’s exhibit 19, The
Sweetwater’s permit application, was limited to the initial four pages (Tr. 485-88) and
the material quoted on Slip Opinion, p. 12, appears on page seven of this document.
In this circumstance the material cited was incorrectly included in the Opinion and
shall be deleted. This deletion has no impact on any aspect of the Opinion.

       Plaintiff asserts that errors were made in the calculation of The Sweetwater’s
actual out-of-pocket expenditures after April 3, 2001. Defendant’s response largely
confirms the information set forth.

      In view of the submissions of both parties, the expense calculations derived
from plaintiff’s exhibits 42 and 43, have been re-examined and the conclusion
reached that modifications are required. Depreciation and amortization were
incorrectly included in calculations and must be removed. These accounting entries
do not comprise out-of-pocket expenditures for which plaintiff is entitled to be
reimbursed. Defendant asserts that management fees should also be removed, but it
is considered that this is an appropriate expenditure as the facility required
management even if closed. A management fee was omitted from the 2001 amounts
and shall be added.

      Accordingly, it is ORDERED:

      (1) That plaintiff’s Corrected Motion for Reconsideration, filed September 14,
2006, shall be GRANTED in part and shall be otherwise, DENIED;.

      (2) The Opinion, filed August 15, 2006, shall be modified as follows:

             (a) At page 12 of the Slip Opinion, the sentence reading
             “Included with the Application, under ‘Resort


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                 Improvements’ was the following statement” shall be
                 deleted together with the statement quoted;

                 (b) At page 34 of the Slip Opinion, the figures set forth in
                 the chart shall be modified as follows:

                              Apr. 3, 2001 -         $ 28,216.38 1/
                              Dec. 31, 2001

                                  2002              $ 31,368.42 2/
                                  2003              $ 22,060.00 3/
                                  2004              $ 30,059.90 4/

                                  Total        $         111,704.70


                 (c) On page 34 of the Slip Opinion, the 45-month average
                 per-month expenditure shall be changed from $3,167.68 to
                 $2,482.32 with the result that the penultimate sentence on
                 page 34 is modified to read “Thus in addition to $637,010
                 for the permit termination as of April 3, 2001, The
                 Sweetwater is entitled to recover, as a part of the damages,
                 measured by equitable consideration, its post-April 3, 2001
                 to December 31, 2004 out-of-pocket expenditures of
                 $111,704.70, plus $2,482.32 each month thereafter until
                 date of final judgment[]”;

                 (d) Conclusion section (b) on page 35 of the Slip Opinion
                 is modified to substitute $111,704.70 for $142,545.68;




       1/
            $4,500 prorated management fee added.
       2/
         $10,704 subtracted for amortization and depreciation $4,678.12 added for correction of
deduction for liquor.
       3/
            $7,917 subtracted for amortization and depreciation.
       4/
            $13,831 subtracted as legal expense; $7,567 subtracted as amortization and depreciation.

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    (e) Conclusion section (c) is modified to read “$2,482.32
    per month for each month after December 31, 2004, until
    date of final judgment herein, also a part of damages,
    measured by equitable consideration, consisting of
    plaintiff’s continuing out-of-pocket expenditures[] and”;

    (f) Except for the modifications set forth, herein,
    plaintiff’s Reconsideration Motion is, otherwise, DENIED;

    (g) The judgment, entered on August 28, 2006, shall be
    VACATED, the certified transcript of judgment issued on
    August 30, 2006, shall be returned, and a new judgment
    shall be entered reflecting the modifications set forth
    above;

    (h) A revised opinion shall be filed incorporating the
    modifications ordered herein.




                                     /s James F. Merow
                                     James F. Merow
                                     Senior Judge




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